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                     EXHIBIT 1
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      # 25112711   E-Filed 03/19/2015 05:35:04 PM


        WJS/mls                                                           IN THE CIRCUIT COURT OF THE 17TH
        A191/74-149                                                       JUDICIAL CIRCUIT IN AND FOR
                                                                          BROWARD COUNTY, FLORIDA

                                                                          CASE NO.:

        INTEGRITY PDL SERVICES, LLC,

                        Plaintiff,

        VS.


        ZALA GROUP, LLC, D/B/A
        ZALA GROUP LIMITED,

                        Defendant.



                                                              COMPLAINT

                        Plaintiff, Integrity PDL Services, LLC ("Integrity PDL"), by and through undersigned counsel,

         states the following in support of its Complaint against Defendant Zala Group, LLC d/b/a Zala Group

        Limited:

                        1.       Plaintiff is a company organized under the laws of Nevis as a limited liability company.

                        2.       Based upon information and belief, Defendant Zala Group, LLC d/b/a Zala Group

        Limited ("Zala") is a limited liability company organized under the laws of the State of Florida, Zala's

        headquarters are in Broward County according to the Florida Department of State, Division of

        Corporations.

                        3.       This Court has jurisdiction over this action pursuant to Florida Statute § 48,193. Venue is

        proper pursuant to Florida Statute § 47.011.

                        4.       Defendant agreed to provide payment processing services to Plaintiff and provided some

         limited payment processing services from January 6 to January 9, 2014.

                        5.       On or about January 13, 2014, Plaintiff entered into an "ACH Processing Services

        Agreement" ("Agreement") with Defendant Zala and signed by Gilbert Armenta.




         (00310764.1)                                             1
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                  6.    The Agreement required Zala to provide Plaintiff with, among other things, payment

   services in support of processing of electronic credits and debits with Plaintiff's customers via either

   Automated Clearing House of the Federal Reserve or check drafts ("Processing Services"). The

   Agreement also contains a strict confidentiality clause whereby attaching it to this Complaint would be a

   violation.

                  7.    Plaintiff provided and transferred to Zala $2,000 in set-up fees, $20,000 in debit account

   reserves and $37,500 in credit account reserves pursuant to the Agreement, all in reliance on Defendant's

   representations. Defendant continues to hold those funds at the time this action was filed.

                  8.    Zala processed credit transactions and thereby held funds on behalf of Integrity PDL for

   which it did not pay Integrity PDL the amount it is due. Zala holds and continues to improperly withhold

   funds in the amount of $11,633 through the time this action was filed. Defendant has been unjustly

   enriched with Plaintiff's funds.

                  9.    The Agreement, which created a confidential relationship, requires Defendant to refund

   Plaintiff the funds in the deposit and the reserve accounts maintained or purportedly maintained by

   Defendant, as well as any other funds held by Defendant on behalf of or for the benefit of Plaintiff.

                                            COUNT I Breach of Contract
                                                        -




                  10.   Plaintiff incorporates by reference the preceding paragraphs of its Complaint as though

   fully set forth herein.

                  11.   Plaintiff has at all times performed all the stipulations, conditions, and agreements stated

   in the aforementioned Agreement to be performed by Plaintiff, and it has done so in the manner specified

   by the aforementioned Agreement.

                  12.   Defendant has failed and refused, and still fails and refuses, to perform its obligations

   under the aforementioned Agreement, including, without limitation, failing to provide payment services


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   under the Agreement and improperly retaining the aforementioned funds despite Plaintiff's repeated

   requests for Defendant to properly return or provide such funds to the Plaintiff,

                  13.    Defendant's breach of the aforementioned Agreement is a material breach that goes to the

   essence of the Agreement,

                  WHEREFORE, Plaintiff demands a judgment for damages, lost profits, interest, prejudgment

   interest, costs and attorneys' fees and any other and further relief as this Court might deem just and

   proper.

                                        COUNT II    —   Negligent Misrepresentation

                  14,    Plaintiff incorporates by reference paragraphs 1 through 9 of its Complaint as though

   fully set forth herein.

                  15.    On or about December 2013, Defendant, through its consultant, negligently

   misrepresented to Plaintiff that it was ready, willing and able to perform the subject payment :services and

   all of its obligations under the aforementioned Agreement.

                  16.    Defendant also represented that it would properly reimburse Plaintiff the aforementioned

   funds under the terms of the Agreement.

                  17.    The aforementioned representations related to material facts.

                  18.    Defendant knew or should have known of the falsity of the subject representations at the

   time it made these representations to Plaintiff.

                  19.    Defendant intended to induce Plaintiff to act upon the subject false representations.

                  20.    Plaintiff justifiably relied upon the false representations for reasons including, without

   limitation, Defendant held itself out as a specialist in the payment services industry that would act as

   fiduciaries with respect to Plaintiff's funds and handle the same properly.

                  21.    As a result of the misrepresentations, Plaintiff is entitled to rescind its Agreement with

   Defendant,
   (00310764.1}

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                   22.    Plaintiff has sustained damages and it has become necessary for Plaintiff to incur

   attorney's fees, both of which were directly and proximately caused by Defendant's misrepresentations.

                   WHEREFORE, Plaintiff demands a judgment for damages, rescission, lost profits, interest,

   prejudgment interest, costs and attorneys' fees and any other and further relief as this Court might deem

   just and proper.

                                                COUNT III     —   Accounting

                   23.    Plaintiff incorporates by reference paragraphs 1 through 9 of its Complaint as though

   fully set forth herein.

                   24.    Plaintiff paid the aforementioned funds to Defendant and Defendant obtained certain

   funds from third parties held on behalf of and for benefit of Plaintiff.

                   25.    Defendant has refused to properly provide the aforementioned funds to Plaintiff despite

   its repeated and proper demands for those funds pursuant to the Agreement and applicable law,

                   26.    As a result, Plaintiff is entitled to an accounting of the aforementioned funds and the

   accounts into which those funds were deposited or transferred.

                   WHEREFORE, Plaintiff requests this Court enter an Order requiring an accounting of the

   aforementioned funds and for such other relief that is just, proper and equitable.

                                         COUNT IV     —   Breach of Fiduciary Duty

                   27.    Plaintiff incorporates by reference paragraphs 1 through 9 of its Complaint as though

   fully set forth herein.

                   28.    Defendant agreed to provide payment services to Plaintiff.           Plaintiff paid the

   aforementioned funds to Defendant. Defendant obtained certain funds from third parties held on behalf of

   and for benefit of Plaintiff.

                   29,    Plaintiff justifiably relied on Defendant to properly perform the payment services at

   issue, as well as hold and then pay the subject funds to Plaintiff.
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                  30.   Defendant owed Plaintiff a fiduciary duty under applicable law as a result of Defendant

   agreeing to perform the payment services and holding the aforementioned funds on behalf of and for the

   benefit of Plaintiff.

                  31.   Defendant has breached its fiduciary duty to Plaintiff by failing to provide the payments

   services and improperly refusing to provide the aforementioned funds to Plaintiff despite Plaintiff's

   repeated and proper demands for those funds.

                  32.   Plaintiff has been damaged by Defendant's breach of fiduciary duty and retention of the

   subject funds of which Plaintiff is the rightful owner.

                  33.   Defendant's breach of its fiduciary duty is the direct and proximate cause of the damages

   sustained by Plaintiff

                  34.   Plaintiff is entitled to equitable relief to address Defendant's breach of its fiduciary duty,

   including, without limitation, imposition of a constructive trust with respect to the aforementioned funds

   and the accounts into which those funds were deposited and transferred.

                  WHEREFORE, Plaintiff demands a judgment for damages, lost profits, imposition of a

   constructive trust regarding the subject funds, interest, prejudgment interest, costs and attorneys' fees and

   any other and further relief as this Court might deem just and proper.

                               COUNT V      —   Unjust Enrichment and Action to Disgorge

                  35.    Plaintiff incorporates by reference paragraphs 1 through 9 of its Complaint as though

   fully set forth herein.

                  36.   Defendant conferred a benefit on Plaintiff by providing the aforementioned funds and

   entering into a fiduciary relationship whereby Defendant had the right to, without limitation, obtain and

   hold funds from third parties for the benefit and on behalf of Plaintiff.

                  37.   At all relevant times, Defendant had knowledge of the aforementioned benefits.


   (00310764.1}

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                  38.    Defendant's wrongful conduct including, without limitation, refusal to pay the subject

   funds to Plaintiff is such that it is inequitable for Defendant to retain the benefit without paying the value

   of those funds to Plaintiff.

                  WHEREFORE, Plaintiff demands a judgment for compensatory damages, rescission, lost profits,

   interest, prejudgment interest, costs and attorneys' fees, imposition of a constructive trust regarding the

   subject funds and any other and further relief as this Court might deem just and proper.

                                                 COUNT VI Conversion
                                                               -




                  39,    Plaintiff incorporates by reference paragraphs 1 through 9 of its Complaint as though

   fully set forth herein.

                  40.    Plaintiff is the rightful owner of the subject funds held by Defendant.

                  41.    Defendant has and continues to refuse to provide the subject funds to Plaintiff despite its

   repeated and proper request for such funds and, as a result, Defendant has wrongfully deprived Plaintiff of

   its right to the subject funds.

                  42.    Defendant's refusal to provide the subject funds to Plaintiff is the direct and proximate

   cause of the damages sustained by Plaintiff.

                  WHEREFORE, Plaintiff demands a judgment for compensatory damages, interest, prejudgment

   interest, costs and attorneys' fees and any other and further relief as this Court might deem just and

   proper.

                                                 COUNT VII     —   Civil Theft

                  43.    Plaintiff incorporates by reference paragraphs 1 through 9 of its Complaint as though

   fully set forth herein.

                  44.    Plaintiff sues Defendant for Civil Theft pursuant to Fla. Stat. § 772.11,

                  45.    Defendant committed theft by knowingly misappropriating, obtaining, and retaining no

   less than $11,633 of Plaintiff's money with the intent to either temporarily or permanently (1) deprive
   {00310764.1)

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   Integrity PDL of the right to possession of or to benefit from the at least $11,633; or (2) misappropriate

   the no less than $11,633 for Defendant's own use or to the use of other not entitled to the money.

                   46.    Defendant's theft was committed with felonious intent.

                   47.    Prior to filing this Civil Theft claim against Defendant, Integrity PDL made written

   demand to Defendant pursuant to Fla. Stat. § 772.11(1) but Defendant has refused to return the subject

   money. The demand letter is attached as Exhibit A.

                   48.    Pursuant to Fla. Stat. § 772.11(1), Integrity PDL is entitled to recover treble damages

   from Defendant based on Defendant's violation of Florida's criminal theft statutes,

                   49.    Accordingly, Integrity PDL is entitled to recover no less than $34,899 from Defendant.

                   50.    Further, pursuant to Fla. Stat. § 772.11(1), Integrity PDL is entitled to recover its

   reasonable attorney's fees and court costs incurred in connection with this action.

                   WHEREFORE, Plaintiff demands a judgment for actual and compensatory damages, interest,

   prejudgment interest, costs and attorneys' fees and any other and further relief as this Court might deem

   just and proper.

   Dated: March I            , 2015.

                                                          KELLER LANDSBERG PA
                                                          Counsel for Plaintiff
                                                          Broward Financial Centre, Suite 1400
                                                          500 East Broward Boulevard
                                                          Fort Lauderdale, FL 33394
                                                          Telephone: (954) 761-3550
                                                          Facsimile: (954) 525-2134
                                                          Primary: wendy.stein@kellerlandsbcrg.com
                                                          Second: marie.sanehez a kel rlandsberg.com

                                                          By:

                                                                                        2




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                                                       October 7, 2014

            Via Hand Delivery
            and Email: garmenta@zala-group.com & deoolt@tala-groupeom


            Mr. Gilbert Armenta
            Ms. Diane Cook
            Zala Group
            401 E. Las Olas Blvd., Suite 1400
            Fort Lauderdale, FL 33301
                    Re: Civil Theft Notice Sent Pursuant To Section 772,11, Florida Statutes
                           Integrity PDL Services LLC ACH Processing Services Agreement

            Dear Mr. Armenta and Ms, Cook:

                   We represent Integrity PDL Services LLC ("Company"). This letter is sent pursuant to
            Section 772.11, Florida Statutes, based on Zala Group, LLC's ("Zala") violation of Florida's
            criminal statutes, including but not limited to Section 812.014, Florida Statutes, entitled "Theft,"
            As you know, Zala entered into an ACH Processing Services Agreement ("Agreement") with the
            Company and provided payment processing services to the Company from January 6 through 9,
            2014, Zala has refused to provide the Company with funds to which it is entitled of at least
            $31,633 and that are in the possession, custody and/or under the control of Zala as a result of the
            Agreement and the subject payment processing services rendered by Zala.

                    The Company renews its demand for the aforementioned funds, Specifically, this demand
            is made based on Zala's theft of $31,633 1 entrusted to Zala and that it held in trust for the benefit
            of the Company in conjunction with the payment processing services rendered by Zala from
            January 6 through 9, 2014, as well as any other funds in the possession, custody and/or under
            control of Zala for which the Company is the rightful owner. Based on the foregoing, demand is
            hereby made, pursuant to Section 772.11, Florida Statutes, for treble damages, which totals
            $94,899. If you do not comply with the terms of this letter by delivering $94,899 to the
            Company, within thirty (30) days of your receipt of this letter, the Company will pursue a Civil
            Theft claim against you seeking treble damages, attorneys' fees and costs,


                   This amount is calculated as follows. On or about January 6 through 9, 2014, Zala
            provided payment processing services to the Company and in conjunction with those services
            Zala has in its possession, custody and/or under its control reserve funds in the amount of
            $20,000, and processing funds in the amount of $11,633, as well as any other funds held by Zala
            for which the Company is the rightful owner.
                                                               (00205191,1 )
                   Broward Financial Centre, 500 E. Broward Boulevard, Suite 1400, Fort Lauderdale, FL 33394
                                   P: 954.761.3550 I F: 954.525.2134 I www.kellerlandsberg.com
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                             GOVERN YOURSELF ACCORDINGLY,




           WJS




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